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                                                                                                                1   ALPHA TRIAL GROUP, LLP
                                                                                                                    RICHARD K. WELSH (State Bar No. 208825)
                                                                                                                2   JEFFREY A. ZUIDEMA (State Bar No. 248057)
                                                                                                                    10940 Wilshire Blvd., Suite 600
                                                                                                                3   Los Angeles, CA 90024
                                                                                                                    Telephone: (310) 562-4550
                                                                                                                4   Email: rwelsh@atgllp.com
                                                                                                                5
                                                                                                                    Counsel for Defendant Edwards Solar II,
                                                                                                                6   LLC
                                                                                                                7
                                                                                                                8
                                                                                                                                        UNITED STATES DISTRICT COURT
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                                                                                                                                     NORTHERN DISTRICT OF CALIFORNIA
                                                                                                               10
                                                                                                               11
                                                                                                                    East Bay Community Energy               Case No. 4:23-CV-03924
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                                                                                                               12   Authority, a California Joint Powers
                                                                             L O S A N G E L E S , C A 90024




                                                                                                                    Authority,
                                                                                                               13
                                                                                                                                   Plaintiff,               DEFENDANT’S ANSWER TO EAST
                                                                                                               14                                           BAY COMMUNITY ENERGY
                                                                                                                          v.                                AUTHORITY’S COMPLAINT
                                                                                                               15
                                                                                                                    Edwards Solar II, LLC,
                                                                                                               16
                                                                                                                                   Defendant.               [DEMAND FOR JURY TRIAL]
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                                                                                                                                                           ANSWER
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                                                                                                                1          Defendant Edwards Solar II, LLC answers Plaintiff East Bay Community
                                                                                                                2   Energy Authority’s (“East Bay”) Complaint as follows:
                                                                                                                3                                      THE PARTIES
                                                                                                                4          1.    Defendant lacks knowledge or information sufficient to admit or deny
                                                                                                                5   the allegations of this paragraph and therefore denies them.
                                                                                                                6          2.    Defendant lacks knowledge or information sufficient to admit or deny
                                                                                                                7   the allegations of this paragraph and therefore denies them.
                                                                                                                8          3.    Defendant admits it is Delaware limited liability company with offices
                                                                                                                9   in New York. On June 10, 2020, Defendant filed a certificate of amendment with
                                                                                                               10   the Delaware Secretary of State changing Defendant’s name to Edwards Solar 1B,
                                                                                                               11   LLC.
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                                                                                                               12                             JURISDICTION AND VENUE
                                                                             L O S A N G E L E S , C A 90024




                                                                                                               13          4.    The allegations in paragraph 4 are legal conclusions to which no
                                                                                                               14   answer is required.
                                                                                                               15          5.    The allegations in paragraph 5 are legal conclusions to which no
                                                                                                               16   answer is required. To the extent a response is required, Defendant states that the
                                                                                                               17   terms of the PPA speak for itself and is the best evidence of its contents.
                                                                                                               18          6.    The allegations in paragraph 6 are legal conclusions to which no
                                                                                                               19   answer is required. To the extent a response is required, Defendant states that the
                                                                                                               20   terms of the PPA speak for itself and is the best evidence of its contents.
                                                                                                               21          7.    Defendant denies that an actual case or controversy exists between
                                                                                                               22   East Bay and Edwards as to the respective rights and obligations under the
                                                                                                               23   Renewable Power Purchase Agreement (“PPA”) because East Bay has not
                                                                                                               24   demanded a Termination Payment or followed the procedures of § 15.2 of the PPA
                                                                                                               25   regarding any Termination Payment as required under the PPA.
                                                                                                               26                              GENERAL ALLEGATIONS
                                                                                                               27          8.    Defendant admits that Terra-Gen, LLC is an affiliate of Defendant.
                                                                                                               28   Defendant denies the remaining allegations of this paragraph.
                                                                                                                                                             -2-
                                                                                                                                                           ANSWER
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                                                                                                                1          9.     Defendant admits that in 2017 the United States Air Force granted a
                                                                                                                2   Terra-Gen affiliate the right to develop a solar photovoltaic power project through a
                                                                                                                3   designated affiliate on Edwards Air Force Base (the “Project”). Defendant denies
                                                                                                                4   the remaining allegations of this paragraph.
                                                                                                                5          10.    Defendant admits that a preliminary and final environmental report
                                                                                                                6   were performed for the project site. As for the remaining portions of the first
                                                                                                                7   sentence, Defendant states that the environmental reports speak for themselves and
                                                                                                                8   are the best evidence of their contents. Defendant, the Air Force, the tribes, and a
                                                                                                                9   Terra Gen affiliate signed a memorandum of agreement regarding what areas of
                                                                                                               10   Edwards Air Force Base could be permitted and developed. Defendant states that the
                                                                                                               11   agreement speaks for itself and is the best evidence of its contents. Defendant
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                                                                                                               12   denies East Bay’s characterization of the agreement to the extent it is inconsistent
                                                                             L O S A N G E L E S , C A 90024




                                                                                                               13   with its terms. Defendant denies the remaining allegations of this paragraph.
                                                                                                               14          11.    Defendant admits that it entered a PPA with Plaintiff dated September
                                                                                                               15   25, 2019. Defendant states that the PPA speaks for itself and is the best evidence of
                                                                                                               16   its contents. Defendant denies East Bay’s characterization of the PPA to the extent
                                                                                                               17   it is inconsistent with its terms.
                                                                                                               18          12.    Defendant admits to providing project status reports to East Bay
                                                                                                               19   between 2019 and 2021. When Defendant determined it could not execute on the
                                                                                                               20   PPA due to the Mission Indian land restrictions, Defendant notified East Bay of the
                                                                                                               21   issue. Defendant states that the project reports speak for themselves and are the best
                                                                                                               22   evidence of their contents. Defendant denies East Bay’s characterization of the
                                                                                                               23   notice to the extent it is inconsistent with its terms. Defendant denies the remaining
                                                                                                               24   allegations of this paragraph.
                                                                                                               25          13.    Defendant admits that in February 2022, it notified East Bay that it
                                                                                                               26   could not build the contemplated project to provide renewable power under the
                                                                                                               27   PPA due largely to the Mission Indian land restrictions, which resulted in a
                                                                                                               28   significant reduction of buildable acres and, thus, a loss of power generating
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                                                                                                                                                           ANSWER
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                                                                                                                1   capability. Defendant states that the notice to East Bay speaks for itself and is the
                                                                                                                2   best evidence of its contents. Defendant denies East Bay’s characterization of the
                                                                                                                3   notice to the extent it is inconsistent with its terms. Defendant denies the remaining
                                                                                                                4   allegations of this paragraph.
                                                                                                                5            14.   Defendant admits that in February 2022, it notified East Bay that
                                                                                                                6   developing land for the PPA had become unfeasible because of the construction
                                                                                                                7   limitations imposed by the Mission Indians. Defendant states that the notice speaks
                                                                                                                8   for itself and is the best evidence of its contents. Defendant denies East Bay’s
                                                                                                                9   characterization of the notice to the extent it is inconsistent with its terms.
                                                                                                               10   Defendant denies the remaining allegations of this paragraph.
                                                                                                               11            15.   Defendant admits that after providing its February 2022 notice, it
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                                                                                                               12   advised East Bay that it could not construct the project. Defendant states that the
                                                                             L O S A N G E L E S , C A 90024




                                                                                                               13   notice speaks for itself and is the best evidence of its contents. Defendant denies
                                                                                                               14   East Bay’s characterization of the notice to the extent it is inconsistent with its
                                                                                                               15   terms.
                                                                                                               16            16.   Defendant admits that in the July 6, 2022 Quarterly Report requested
                                                                                                               17   by East Bay, Defendant reiterated that due to permitting limitations it could not
                                                                                                               18   build the Facility. Defendant states that the quarterly report speaks for itself and is
                                                                                                               19   the best evidence of its contents. Defendant denies East Bay’s characterization of
                                                                                                               20   the quarterly report to the extent it is inconsistent with its terms.
                                                                                                               21            17.   Defendant admits that in November 2022, after discussions with and
                                                                                                               22   repeated notices to East Bay, Defendant further informed East Bay that it could not
                                                                                                               23   construct the Facility. Defendant also advised East Bay that the PPA specifies the
                                                                                                               24   applicable remedy as a Damage Payment, set forth in Sections 11.1 and 11.2. The
                                                                                                               25   notice and PPA speak for themselves and are the best evidence of their contents.
                                                                                                               26   Defendant denies East Bay’s characterization of the notice and PPA to the extent it
                                                                                                               27   is inconsistent with their terms.
                                                                                                               28
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                                                                                                                1         18.    Defendant admits that East Bay invoked the Dispute Resolution
                                                                                                                2   provisions of PPA § 15.2 and that mediated certain claims in July 2023 before
                                                                                                                3   JAMS.
                                                                                                                4                                The Case or Controversy
                                                                                                                5         19.    Defendant denies the allegations of this paragraph.
                                                                                                                6         20.    The allegations in paragraph 20 are legal conclusions to which no
                                                                                                                7   answer is required. To the extent that any response is required, Defendant lacks
                                                                                                                8   knowledge and information sufficient to form a belief as to the allegations of
                                                                                                                9   paragraph 20 and therefore denies them.
                                                                                                               10         21.    The allegations in paragraph 21 are legal conclusions to which no
                                                                                                               11   answer is required. To the extent that any response is required, Defendant lacks
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                                                                                                               12   knowledge and information sufficient to form a belief as to the allegations of
                                                                             L O S A N G E L E S , C A 90024




                                                                                                               13   paragraph 21 and therefore denies them.
                                                                                                               14         22.    The allegations in paragraph 22 are legal conclusions to which no
                                                                                                               15   answer is required. To the extent that any response is required, Defendant denies
                                                                                                               16   that East Bay declared Early Termination or sought a Termination Payment, to
                                                                                                               17   which Defendant would be granted an opportunity to respond and have brought in
                                                                                                               18   mediation before any litigation commenced pursuant to §§ 11.5 and 15.2. The PPA
                                                                                                               19   speaks for itself and is the best evidence of its contents. Defendant denies East
                                                                                                               20   Bay’s characterization of the PPA to the extent it is inconsistent with its terms.
                                                                                                               21   Defendant lacks knowledge and information sufficient to form a belief as to the
                                                                                                               22   remaining allegations of paragraph 22 and therefore denies them.
                                                                                                               23         23.    The allegations in paragraph 23 are legal conclusions to which no
                                                                                                               24   answer is required. To the extent that any response is required, the PPA speaks for
                                                                                                               25   itself and is the best evidence of its contents. Defendant denies East Bay’s
                                                                                                               26   characterization of the PPA to the extent it is inconsistent with its terms. Defendant
                                                                                                               27   lacks knowledge and information sufficient to form a belief as to the remaining
                                                                                                               28   allegations of paragraph 23 and therefore denies them.
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                                                                                                                1         24.    The allegations in paragraph 24 are legal conclusions to which no
                                                                                                                2   answer is required. To the extent that any response is required, the PPA speaks for
                                                                                                                3   itself and is the best evidence of its contents. Defendant denies East Bay’s
                                                                                                                4   characterization of the PPA to the extent it is inconsistent with its terms. Defendant
                                                                                                                5   denies the remaining allegations of paragraph 24.
                                                                                                                6         25.    Defendant admits that it could not build the Project due to permitting
                                                                                                                7   limitations and restrictions. Defendant denies the remaining allegations of
                                                                                                                8   paragraph 25.
                                                                                                                9         26.    The allegations in paragraph 26 are legal conclusions to which no
                                                                                                               10   answer is required. To the extent that any response is required, the PPA speaks for
                                                                                                               11   itself and is the best evidence of its contents. Defendant denies East Bay’s
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                                                                                                               12   characterization of the PPA to the extent it is inconsistent with its terms. Defendant
                                                                             L O S A N G E L E S , C A 90024




                                                                                                               13   denies the remaining allegations of paragraph 26.
                                                                                                               14         27.    The allegations in paragraph 27 are legal conclusions to which no
                                                                                                               15   answer is required. To the extent that any response is required, the PPA speaks for
                                                                                                               16   itself and is the best evidence of its contents. Defendant denies East Bay’s
                                                                                                               17   characterization of the PPA to the extent it is inconsistent with its terms. Defendant
                                                                                                               18   denies the remaining allegations of paragraph 27.
                                                                                                               19         28.    The allegations in paragraph 28 are legal conclusions to which no
                                                                                                               20   answer is required. To the extent that any response is required, the PPA speaks for
                                                                                                               21   itself and is the best evidence of its contents. Defendant denies East Bay’s
                                                                                                               22   characterization of the PPA to the extent it is inconsistent with its terms. Defendant
                                                                                                               23   admits that it stated East Bay’s remedies are limited to a “Damage Payment,” but
                                                                                                               24   denies the remaining allegations of paragraph 28.
                                                                                                               25                                    CLAIM FOR RELIEF
                                                                                                               26         29.    Defendant incorporates by reference each of the responses from the
                                                                                                               27   preceding paragraphs.
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                                                                                                                1         30.    Defendant denies that an actual case or controversy exists between
                                                                                                                2   East Bay and Edwards as to the respective rights and obligations under the
                                                                                                                3   Renewable Power Purchase Agreement (“PPA”) in part because East Bay has not
                                                                                                                4   demanded a Termination Payment or followed the procedures of § 15.2 of the PPA
                                                                                                                5   regarding any Termination Payment. Defendant denies all remaining allegations in
                                                                                                                6   paragraph 30.
                                                                                                                7         31.    The allegations of paragraph 31 are legal conclusions to which no
                                                                                                                8   response is required. To the extent that any response is required, Defendant denies
                                                                                                                9   the allegations of paragraph 31.
                                                                                                               10                                 PRAYER FOR RELIEF
                                                                                                               11         32.    The remaining portions of East Bay’s complaint are prayers for relief
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                                                                                                               12   to which no response is required. To the extent any response is required, Defendant
                                                                             L O S A N G E L E S , C A 90024




                                                                                                               13   denies that East Bay is entitled to any of the relief sought and, thus, deny the relief
                                                                                                               14   sought by East Bay. Defendant further requests that the Court award it its attorneys’
                                                                                                               15   fees, costs, and expenses for defending against East Bay’s claim, and award
                                                                                                               16   Defendant such other and further relief as may be just.
                                                                                                               17                              AFFIRMATIVE DEFENSES
                                                                                                               18         1.     East Bay’s Complaint fails to state a claim upon which relief may be
                                                                                                               19   granted.
                                                                                                               20         2.     East Bay’s Complaint fails, in whole or in part, under Articles 11 and
                                                                                                               21   12 of the PPA expressly limiting East Bay’s available remedies to liquidated
                                                                                                               22   damages.
                                                                                                               23         3.     East Bay’s Complaint fails, in whole or in part, under the doctrine of
                                                                                                               24   frustration of purpose.
                                                                                                               25         4.     East Bay’s Complaint fails, in whole or in part, under the doctrine of
                                                                                                               26   impossibility or impracticability.
                                                                                                               27         5.     East Bay’s Complaint fails, in whole or in part, because it failed to
                                                                                                               28   mitigate its damages.
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                                                                                                                1         6.     East Bay’s Complaint fails, in whole or in part, under the doctrine of
                                                                                                                2   mistake, whether unilateral or mutual.
                                                                                                                3         7.     East Bay’s Complaint fails, in whole or in part, under the doctrine of
                                                                                                                4   unconscionability.
                                                                                                                5         8.     East Bay’s Complaint fails, in whole or in part, under the doctrine of
                                                                                                                6   unclean hands.
                                                                                                                7         9.     East Bay’s Complaint fails, in whole or in part, under the doctrine of
                                                                                                                8   unjust enrichment.
                                                                                                                9         10.    East Bay’s Complaint fails, in whole or in part, in that Defendant was
                                                                                                               10   excused from performing.
                                                                                                               11         11.    East Bay’s Complaint fails, in whole or in part, under the doctrines of
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                                                                                                               12   waiver and estoppel.
                                                                             L O S A N G E L E S , C A 90024




                                                                                                               13         12.    East Bay’s Complaint fails, in whole or in part, in that Defendant was
                                                                                                               14   prevented from performing by the actions of third parties.
                                                                                                               15         13.    East Bay’s Complaint fails, in whole or in part, because Defendant
                                                                                                               16   tendered the liquidated damages available to East Bay under the PPA.
                                                                                                               17         14.    East Bay’s Complaint fails, in whole or in part, for failure of condition
                                                                                                               18   precedent.
                                                                                                               19
                                                                                                               20   DATED: August 29, 2023            ALPHA TRIAL GROUP, LLP
                                                                                                               21
                                                                                                                                                      By:________________________________
                                                                                                               22
                                                                                                                                                      RICHARD K. WELSH
                                                                                                               23                                     Counsel for Defendant Edwards Solar II, LLC
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                                                                                                                                                             ANSWER
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                                                                                                                1                             DEMAND FOR JURY TRIAL
                                                                                                                2        Plaintiff requests a jury trial on all issues properly triable to a jury.
                                                                                                                3
                                                                                                                4   DATED: August 29, 2023             ALPHA TRIAL GROUP, LLP
                                                                                                                5
                                                                                                                                                       By:________________________________
                                                                                                                6
                                                                                                                                                       RICHARD K. WELSH
                                                                                                                7                                      Counsel for Defendant Edwards Solar II, LLC
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                                                                                                                                                           ANSWER
